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Attorneys for Defendant
Security Industry Specialists, Inc.

                                UNITED STATES DISTRICT COURT

                                      DISTRICT OF OREGON

                                      PORTLAND DIVISION

MARCIA WALKER,                                      Case No.:

                   Plaintiff,
                                                    DEFENDANT’S NOTICE OF REMOVAL
                     v.

SECURITY INDUSTRY
SPECIALISTS, INC.,

                   Defendant.




       PLEASE TAKE NOTICE THAT pursuant to 28 U.S.C. §§ 1441 and 1446, Defendant

Security Industry Specialists, Inc. (“Defendant”), by filing this Notice of Removal and related

papers, removes this action from the Circuit Court of the State of Oregon for the County of

Multnomah (“Multnomah County Circuit Court”) to the United States District Court for the

District of Oregon, Portland Division. Defendant removes this case based on diversity jurisdiction

as follows:



                                                                           LITTLER MENDELSON, PC
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                          NOTICE OF REMOVAL IS TIMELY.

       1.      On December 19, 2019, Plaintiff Marcia Walker (“Plaintiff”) filed a civil action

against Defendant in Multnomah County Circuit Court entitled Marcia Walker v. Security Industry

Specialists, Inc., Case No. 19CV54313. Pursuant to 28 U.S.C. § 1446(a), Defendant attaches as

Exhibits A, B, and C true and correct copies of all state court papers served on Defendant, and all

records filed in the State Court Action as of this date, consisting of a Complaint, Summons, and

Requests for Production to Defendant.

       2.      On December 24, 2019, Defendant accepted service of Plaintiff’s Complaint. See

Exhibit B. Therefore, Defendant timely files this Notice of Removal under 28 U.S.C. § 1446(b),

i.e., within 30 days after Defendant received the initial pleading.

       3.      Other than the above-referenced proceedings, no further proceedings have occurred

in Multnomah County Circuit Court as of the date of filing this removal.

                 COMPLETE DIVERSITY JURISDICTION EXISTS.

       4.      This action may be removed pursuant to 28 U.S.C. §§ 1332 and 1441 because the

action is between citizens of different states and the amount in controversy exceeds $75,000,

exclusive of interest and costs.

       5.      Plaintiff admits, on the face of her Complaint, that she seeks at least $550,000 in

damages. See Exhibit A.

       6.      Plaintiff maintained her domicile in Oregon at the time she commenced this action,

and remains domiciled in Oregon as of the date of filing this Notice of Removal. See Exhibit A,

¶ 1.

       7.      Defendant is a foreign entity incorporated under the laws of California. See Exhibit

A, ¶ 2; Declaration of Julia Prybyla, ¶¶ 3-4. Defendant maintains its principal place of business in

Culver City, California. Id. Therefore, Defendant is a citizen of California, and not Oregon, for
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diversity purposes.

                      REMOVAL TO THIS DISTRICT IS PROPER.

       8.      Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, removal of the above-captioned

state court action to this Court is appropriate.

       9.      Pursuant to 28 U.S.C. § 1441(a), removal is made to this Court as the District

embracing the place where the state court action is pending.

       10.     Defendant has good and sufficient defenses to this action and does not waive any

defenses, jurisdictional or otherwise, by filing this Notice of Removal.

       11.     Pursuant to 28 U.S.C. § 1446(d), Defendant is providing to Plaintiff, through her

counsel, written notice of the filing of this Notice of Removal. Furthermore, Defendant is filing a

copy of this Notice of Removal with the Clerk of Multnomah County Circuit Court, where the

action was pending.

       WHEREFORE, Defendant hereby removes this civil action from Multnomah County

Circuit Court to this District Court.

         Dated: January 23, 2020

                                                   Respectfully submitted,



                                                   /s/ John A. Berg
                                                   John A. Berg, OSB No. 120018
                                                   Christine E. Sargent, OSB No. 172189
                                                   Littler Mendelson, P.C.

                                                   Attorneys for Defendant
                                                   Security Industry Specialists, Inc.




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